Case 17-18481 Doc55 Filed 09/29/17 Page1 of 15

Fill in this information to identify your case and this filing:

Debtor 1 Roy sens
First Name~ Middle Name Last Name

Debtor 2 Melanie Sens

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Maryland
Case number 17-1 8481

 

¥) Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

| Part 4: | Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

U) No. Go to Part 2.
x} Yes. Where is the property?

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

 

 

 

 

 

 

x) Single-family home the amount of any secured claims on Schedule D:
11. 11324 N ew port Bay Dri ve] Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
Street address, if available, or other description .
U1 Condominium or cooperative Current value of the Current value of the
CJ Manufactured or mobile home entire property? portion you own?
5 Land $810,000 $54,525
‘ Investment property
Berlin MD 21811 D Timeshare Describe the nature of your ownership
City State ZIP Code Ci ae, interest (such as fee simple, tenancy by
ther the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
U) Debtor 1 only
County O) Debtor 2 only

UO] Debtor 1 and Debtor 2 only C) Check if this is community property

e instructions
CJ At least one of the debtors and another =e ctions)

Other information you wish to add about this item, such as local
property identification number:

 

If you own or have more than one, list here:

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
QO) Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

 

1.2. __ Qa Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
Street address, if available, or other description .
1 Condominium or cooperative Current value of the Current value of the
(J Manufactured or mobile home entire property? portion you own?
C) Land $ $
CL) Investment property
: Describe the nature of your ownership
City State ZIP Code U) Timeshare interest (such as fee simple, tenancy by
C1 other the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
Q) Debtor 1 only

 

 

County C) Debtor 2 only
CI Debtor 1 and Debtor 2 only CI Check if this is community property
CJ At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule A/B: Property page 1
Case 17-18481

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Do not deduct secured claims or exemptions. Put

Debtor 1 Roy sens Case number (if known)
First Name Middle Name Last Name
What is the property? Check all that apply.
13 OQ Single-family home

 

Street address, if available, or other description

 

 

City State

ZIP Code

 

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ..............cccccecccceeeeseseeececeseeuceeesescuuaveeseseceuaaeseeeceuansececeeenes >

he Describe Your Vehicles

QO Duplex or multi-unit building
C) Condominium or cooperative
LJ Manufactured or mobile home
C) Land

CJ investment property

U) Timeshare

Q) other

 

Who has an interest in the property? Check one.
C) Debtor 1 only

U) Debtor 2 only

1 Debtor 1 and Debtor 2 only

CL) At least one of the debtors and another

the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

C) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

CL) No

G Yes

3.1. Make: Mercedes
Model: GL450
Year: 2007

; 29,000
Approximate mileage:
Other information:

}
|
|

 

If you own or have more than one, describe here:

3.2. Make: Ford
Model: Edge
Year: 2007 ————
Approximate msQO

Other information:

 

i
|
|
|

 

Official Form 106A/B

Who has an interest in the property? Check one.
Q) Debtor 1 only

CQ Debtor 2 only

XX] Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

U) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

C) Debtor 1 only

U) Debtor 2 only

X21) Debtor 4 and Debtor 2 only

(CI At least one of the debtors and another

CU) Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$_7,400.00

$_7, 400.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$4,000.00  ¢ 4,000.00

page 2
Case 17-18481 Doc55 Filed 09/29/17 Page3of15

 

 

 

Debtor 1 oy Sens Case number (if known)
FirstName © — Middle Name ‘Tast Name
3.3. Make: Ford Who has an interest in the property? Check one. 9 not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Model: Explorer 4 Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2007 aS Current value of the Current value of the
(2 Debtor 1 and Debtor 2 only entire to a ; e ante ou Sa
Approximate mileage: C) At least one of the debtors and another propery ? .
Other information:
FO C) Check if this is community property (see $_3 L 500.00 $ 3,500.00
| y
| | instructions)
3.4. Make: Ford Who has an interest in the property? Check one. 9 not deduct secured claims or exemptions. Put
Q) Debtor 4 onl the amount of any secured claims on Schedule D:
Model: Expedition g y Creditors Who Have Claims Secured by Property.
Debtor 2 onl
Year: 2000 y

Approximate mileage:

Other information:

 

Gt Debtor 1 and Debtor 2 only
OV Atleast one of the debtors and another

C) Check if this is community property (see
instructions)

Current value of the
entire property?

Current value of the
portion you own?

$1,000.00 $1,000.00

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

C) No

Yes

41. Make: _Tropicat —
Model: 36" Cat
Year: 1 996

Other information:

|
| |

If you own or have more than one, list here:

4.2. Make:
Model:
Year:

Other information:

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Official Form 106A/B

Who has an interest in the property? Check one.
O) Debtor 1 only

C) Debtor 2 only
3] Debtor 1 and Debtor 2 only

CI Atleast one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
C) Debtor 1 only

Q) Debtor 2 only

CD Debtor 1 and Debtor 2 only

UC) Atleast one of the debtors and another

C) Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
entire property?

Current value of the
portion you own?

$5,000.00 ¢ 5,000.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
entire property?

Current value of the
portion you own?

20,900.00

page 3

 
Case 17-18481 Doc55 Filed 09/29/17 Page 4 of 15
Debtor 1 Roy sens Case number (if known)

First Name Middle Name Last Name

RE ve scrine Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the

portion you own?

Do not deduct secured claims
or exemptions.

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
UL) No
Gh Yes. Describe......... See Attachment ¢ 4,680.

™

Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

LI No
U) Yes. Describe.......... $

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
OC) No

C) Yes. Describe.......... $

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

UC) No
U) Yes. Describe.......... $

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

CI No
C) Yes. Describe.......... $

11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

C) No
Gh Yes. Describe.......... Sens Clothing ¢ 702.00

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

U No
C) Yes. Describe........... $

13. Non-farm animals
Examples: Dogs, cats, birds, horses

UC) No
C) Yes. Describe........... $

14. Any other personal and household items you did not already list, including any health aids you did not list

UL) No
L) Yes. Give specific
information. ..............

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

$ 9,997.00
for Part 3. Write that number Were ................ccccccccccscssssecsssecsssscssvecssscsssscssesesssvesssussssusesussssusssussssssessessssisssissssisssesesssessitessstsestecesecesee =>

 

 

 

Official Form 106A/B Schedule A/B: Property page 4
Debtor 1

Case 17-18481

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Case number (if known)

 

First Name

Middle Name Last Name

ea Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the

16.Cash

portion you own?

Do not deduct secured claims
or exemptions.

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

CQ No

17.Deposits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

I No

17.1. Checking account:
17.2. Checking account:
17.3. Savings account:
17.4. Savings account:

17.5. Certificates of deposit:

17.6. Other financial account:
17.7. Other financial account:
17.8. Other financial account:

17.9. Other financial account:

18.Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

UC) No

Institution or issuer name:

Institution name:

 

 

 

 

 

 

 

 

fC Ff F Ff F FH F HF HF

 

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

OQ) No

Q) Yes. Give specific
information about

Official Form 106A/B

Name of entity:

% of ownership:

 

 

0% »
0% »
0% »

 

Schedule A/B: Property page 5
Case 17-18481 Doc55 Filed 09/29/17 Page6 of 15

Debtor 1 Case number (if known)
First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

QO) No

CQ Yes. Give specific Issuer name:
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

theM...ccescesceeseesees $s
$
$
21. Retirement or pension accounts

Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

C) No

QO) Yes. List each

account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

O) No

CDV eS voces Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $

 

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
UC) No

CD Ves voicecccssssseeessnee Issuer name and description:

 

 

 

Official Form 106A/B Schedule A/B: Property

page 6
Case 17-18481 Doc55 Filed 09/29/17 Page/7 of 15

Debtor 1 Case number (if known)
First Name Middle Name Last Name

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
O) No
ee

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

OI No

Q) Yes. Give specific
information about them.... $

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

C) No

Q) Yes. Give specific
information about them.... $

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

UI No

C) Yes. Give specific
information about them.... $

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
UL) No

U) Yes. Give specific information
about them, including whether
you already filed the returns State:
and the tax yea’. «0.0...

Federal:

Local:

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

OQ) No

U) Yes. Give specific information..............

Alimony: $
Maintenance: $
Support: $
Divorce settlement: $
Property settlement: $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
QO) No
UO) Yes. Give specific information............... ‘

Official Form 106A/B Schedule A/B: Property page 7
Case 17-18481 Doc55 Filed 09/29/17 Page 8of15

Sens Case number (if known)

Debtor 1 Vv
irst Name Middle Name Last Name

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

C) No

C) Yes. Name the insurance company

 

 

, ~~ Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ..
Ohio National Melanie Sens g 1.
Ohio National Roy Sens $_1.
New York Life $__ 4

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

C) No

UO) Yes. Give specific information..............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

C) No

C) Yes. Describe each Claim. cece

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

UL) No

Q) Yes. Describe each Claim. ceeceecccccccccese

35. Any financial assets you did not already list

UI No

C) Yes. Give specific information............

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached 1,010.00
for Part 4. Write that number here o.oo... ccssssssssssssssssssscssssssssssssssssssssssesssssssssssnsssiumsssssseseseessssssssasssssssasstiitiitibiiieeesceeeeeeeeeee > $

 

 

 

EERE vescrite Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
C1 No. Go to Part 6.
CL) Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

38. Accounts receivable or commissions you already earned

UC) No
U) Yes. Describe.......

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

UI No
U) Yes. Describe....... $

Official Form 106A/B Schedule A/B: Property page 8
Case 17-18481 Doc55 Filed 09/29/17 Page9of15

Debtor 1 Case number (if known)
First Name Middle Name Last Name

40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

C) No
O) Yes. Describe....... $

41.Inventory
UL) No
C) Yes. Describe....... $

42. Interests in partnerships or joint ventures

UI No
Q) Yes. Describe.......

 

 

Name of entity: % of ownership:
% $
% $
% $ ee

 

43. Customer lists, mailing lists, or other compilations
OQ) No
CI) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

LI No
U) Yes. Describe........

44. Any business-related property you did not already list

 

 

 

 

 

 

 

UC) No

QO) Yes. Give specific $
information ......... rr:

$

$
So

$

$

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $
for Part 5. Write that number here ...........ccosscsessnsussinintntiniatisntnnstisnnistisintinianununaeniiutieiieeeeeecc. > re

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

CL) No. Go to Part 7.
U) Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

C) No

Official Form 106A/B Schedule A/B: Property page 9
Doc 55 Filed 09/29/17 Page 10 of 15

Case number (if known),

Case 162 18481

Middle Name

Roy

First Name

Debtor 1

 

Last Name

48. Crops—either growing or harvested

OQ) No

U) Yes. Give specific
information. ............

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

C) No

51. Any farm- and commercial fishing-related property you did not already list
OQ) No

C) Yes. Give specific
information. ............

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
For Part6. NUFTtS ERE DUMB OE IRE nner iterwer nraneenenscurnnpgesnenteinfsidaeunsneuanesneneuasssssassseceese >

EEESAM vescrine All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

OI No

O) Yes. Give specific
information. ............

54. Add the dollar value of all of your entries from Part 7. Write that number here o.........cccsssssssssssssssssssssseseeoeseeeccccc =>

Cee us the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2

56. Part 2: Total vehicles, line 5

 

 

 

57. Part 3: Total personal and household items, line 15 $ 9 s 907.
58. Part 4: Total financial assets, line 36 g_1,010.
59. Part 5: Total business-related property, line 45 $ 0.

60. Part 6: Total farm- and fishing-related property, line 52 $ 0.
61.Part 7: Total other property not listed, line 54 +S 0

62. Total personal property. Add lines 56 through 61. .......ceeeeeeee

63. Total of all property on Schedule A/B. Add line 55 + WIM© 62... sessecssesseessesecssessesssessecssessessssssasesussassssssressesesutestecesseesecce.

Official Form 106A/B Schedule A/B: Property

 

 

 

 

 

 

 

 

 

page 10

 

 

 
Page 11 of 15

Fill in this information to identify your case:

Debtor 1 Roy Sens

First Name Middle Name Last Name

Debtor 2 Melanie Susan Sens

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Maryland

Case number 17-18481

(If Known)

Check if this is an
amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

| Part 4: Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
UI You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief ‘ Md. Code Ann., Cts. & Jud. Proc.
decoction, cee NewponBey Dive. $0.00 $ 23,675.00 § 11-504(f)(1)(i)2
Line from CI 100% of fair market value, up to
Schedule AB: 1-1 any applicable statutory limit
Brief Cash Md. Code Ann., Cts. & Jud. Proc.
description: i $ 700.00 Os § 11-504(f)(1)(i)1
Line from 16 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief : Md. Code Ann., Cts. & Jud. Proc.
danm ——_ome.. 50i Os § 11-504(b)(4)
ine fom 100% of fair market value, up to
Schedule AB: ®& any applicable statutory limit

 

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
No
CI Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

CL) No
QO) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 3.
Debtor 1

Roy Sens

Case 17-18481

 

First Name

Middle Name

Pare Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

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description:

Line from

Schedule A/B:

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description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Official Form 106C

 

 

 

 

 

 

Last Name

Current value of the
portion you own

Copy the value from
Schedule A/B

Doc 55 Filed 09/29/1 dase AGG ie OT-18481

 

Amount of the exemption you claim

Check only one box for each exemption

 

100% of fair market value, up to
any applicable statutory limit

 

100% of fair market value, up to
any applicable statutory limit

 

C1 100% of fair market value, up to
any applicable statutory limit

 

CI 100% of fair market value, up to
any applicable statutory limit

 

C) 100% of fair market value, up to
any applicable statutory limit

 

C) 100% of fair market value, up to

 

CI 100% of fair market value, up to

 

 

 

 

 

3.3

 

C) 100% of fair market value, up to

 

C) 100% of fair market value, up to

 

CQ 100% of fair market value, up to

 

CJ 100% of fair market value, up to

See Attachment 1 ¢ 3.00 Os

31

See Attachment 2 $ 3.00 Os

31

Mechanical Contractor ¢ 1.00 $ 1.00

19

Mechanical Contractor $ 1.00 $

19

See Attachment 3 g 1.00 $ 1.00

19

Trucks $ 1.00 $ 1.00

Us any applicable statutory limit
50% interest in 10056 LLC g 1.00 g 1.00

19

any applicable statutory limit

See Attachment 4 $ 1.00 I$ 1.00

19 any applicable statutory limit
100% interest in 2523 LLC $ 1.00 g 1.00

" any applicable statutory limit
See Attachment 5 $ 7,400.00 $

3.1 : ees

any applicable statutory limit

See Attachment 6 g 4,000.00 $ 4,000.00

3.2 any applicable statutory limit
2007 Ford Explorer with $ 3,500.00 g 3,500.00

 

O) 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

Specific laws that allow exemption

Md. Code Ann., Insurance §

 

T6-TTT(a)

 

 

 

Md. Code Ann., Insurance §

 

76-11 1(a)

 

 

 

Md. Code Ann., Cts

. & Jud. Proc.

 

§ 11-504(A)(1)i)7

 

 

 

Md. Code Ann., Cts

. & Jud. Proc.

 

§ 11-504 (F)(1)(i)7

 

 

 

Md. Code Ann., Cts
§ 11-504 (f)(1)(i)1

. & Jud. Proc.

 

 

Md. Code Ann., Cts

. & Jud. Proc.

 

§ 11-504 (F)(1)(i)1

 

 

Md. Code Ann., Cts

. & Jud. Proc.

 

§ 11-504 (f)(1)(i)7

 

 

 

Md. Code Ann., Cts.

& Jud. Proc.

 

§ 11-504 (F)(1)(i)1

 

 

Md. Code Ann., Cts.

& Jud. Proc.

 

§ 11-504 (F)(1)(i)1

 

 

 

Md. Code Ann., Cts.

& Jud. Proc.

 

§ 11-504(by(5)

 

 

 

Md. Code Ann., Cts

. & Jud. Proc.

 

§ 11-504(b)(5)

 

 

 

Md. Code Ann., Cts.

& Jud. Proc.

 

§ 11-504(F)(1)(i)1

 

 

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Middle Name Last Name

Roy Sens Doc 55 Filed 09/29/1 €ace Rage,43, of-1 8481

First Name

Ea Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Debtor 1

 

 

Current value of the
portion you own

Amount of the exemption you claim Specific laws that allow exemption

Copy the value from Check only one box for each exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B

‘ Md. Code Ann., Cts. & Jud. Proc.
cr See Attachment 7 $ 301.00 Os § TT-SUAG|T)
Line from 11 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
sesctptio: See Attachment 8 $ 401.00 Os ae eS tin, Biv
Line from 100% of fair market value, up to
Schedule A/B: 1 any applicable statutory limit
Brie ation; Se2Attachment 9 g 2,007.50 $ 2,007.50 ST SOONG
Line from 12 Q) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Line from 6 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
re ption;  S22Attachment 10 $32.50 Os aoa
Line from 100% of fair market value, up to
Schedule A/B: 12 any applicable statutory limit

; Md. Ann., Cts. . Proc,
et ption: — Se2Attachment 11 $4,290.00 Os EBON
Line from 42 0d 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Briel tion; -S2e Attachment 12 $300.00 Os SOR
Lina trom 17.4 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from U) 100% of fair market value, up to
Schedule A/B: ——— any applicable statutory limit
Brief
description: $ Os
Line from C2 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
tine tem C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: § Us
Cinedeont LJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule AB: any applicable statutory limit

Official Form 106C

Schedule C: The Property You Claim as Exempt

 

page 3 of 3.
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Attachment 1/2
Debtor: Roy Sens Case No: 17-18481

Attachment 1
$2,000,000 Term Life-Roy Sens

Attachment 2
$1,000,000 Term Life-Melanie Sens

Attachment 3

100% interest in Sens Service, Inc

Attachment 4
100% interest in Pin Oak LLC

Attachment 5
2007 Mercedes GL450 with 129,000 miles.

Attachment 6
2007 Ford Edge with 118,000 miles.

Attachment 7

6 jeans-$18;, 3 khakis-$9;, 4 dress pants-$12, sport coat-$10;, 10 shoes-$50; 4
sweaters-$12;, 30 shirts,=$60; 4 coats-$40; 1 leather coat-$20; Motorbycle boots-$30

Attachment 8

10 jeans-$30;, 4 khakis-$12, 3 dress pants-$9;, 20shirts-$40;, 15 dresses-$45;, 5
skirts-$15, 20 T-shirts-$20;, 5 coats-$50;, 20 shoes-$100;, 10 sweaters-$30; 2 leather

boots-$30; 1 leathher coat-$20

Attachment 9

Ladie's watch-$250; Ladie's charm bracelet-$57.50; Ladie's pendant-$225; Ladie's

gold bands-$375; Ladie's engagement ring-$1100

Attachment 10
10 necklaces-$15.00; 5 bracelets-$7.50; 8 earrings-$12.00

Attachment 11

Men;s Rolex submariner watch
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Attachment 2/2
Debtor: Roy Sens Case No: 17-18481

Attachment 12

Checking Account with Taylor Bank
